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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

    TRAXCELL TECHNOLOGIES, LLC., )
                 Plaintiff,       )
                                  )                       Civil Action No. 2:17-cv-00042
    v.                            )                       (Lead Case)
                                  )
                                  )
    HUAWEI TECHNOLOGIES USA INC., )                       JURY TRIAL DEMANDED
                 Defendant.       )
                                  )


      PLAINTIFF’S MOTION TO COMPEL DEFENDANTS NOKIA SOLUTIONS AND
        NETWORKS US LLC AND NOKIA SOLUTIONS AND NETWORKS OY TO
           PRODUCE UNDERLYING FINANCIAL DOCUMENTS AND ITEMS
                                           I.       ARGUMENT

      A. THE LOCAL RULES REQUIRE PRODUCTION WITHOUT REQUEST

          Consistent with Eastern District of Texas General Order 14-3 (“General Order Regarding

   Track B Initial Patent Case Management Order”) at Track B Initial Patent Case Management

   Order, ¶ 2 (“Initial Disclosures and Summary Sales Information”), the Court in the present case

   more than 16 months ago ordered the production of “all documents, electronically stored

   information, and tangible things . . . relevant to the pleaded claims or defenses[.]”1 Further, the

   courts have repeatedly held that a patent plaintiff is entitled to not just financial summaries, but

   also to the underlying financial information.2

          Nokia’s refusal to comply with the Local rules and Plaintiff’s requests is designed to raise


      1
        August 8, 2017 Discovery Order (ECF No. 32) at ¶ 3(b).
      2
        E.g., Crocs, Inc. v. Effervescent, Inc., No. 06-cv-00605-PAB-KMT, 2017 U.S. Dist. LEXIS
   194609, at *4–10 (D. Co. Nov. 28, 2017); Lee Valley Tools, Ltd. v. Indus. Blade Co., 288 F.R.D.
   254, 260 (W.D.N.Y. 2013); Fellowes, Inc. v. Aurora Corp., 2009 U.S. Dist. LEXIS 38768, at *8
   (N.D. Ill. Apr. 1, 2009); see also Eastern District of Texas General Order 14-3 (“General Order
   Regarding Track B Initial Patent Case Management Order”) at Track B Initial Patent Case
   Management Order, ¶ 2.


                                                     1
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   the cost of this litigation and Nokia should be sanctioned in an amount equal to the extra attorney’s

   fees and expert fees required to address the lack of production.

          Here, Defendants have primarily relied on simply the production of financial summaries

   likely generated for the purposes of litigation and have failed and refused after request to produce

   the underlying financial information.3 Further, what has been produced illustrates that there are

   numerous missing documents in that customer names have been produced but no invoices or order

   forms.4 NOK_TRX0465556 lists several customers, but the information is attorney’s eyes only.5

   This document reveals customers but no revenue production is made except limited summary

   production for Sprint and T-Mobile.

          Thus, Defendants should be ordered to produce within 14 days of the Order all documents

   and items relating to financial information (including but 6not limited to revenue, profits, costs,

   development costs, sales price) relating to Defendants’ SON products, including associated

   products and services (including but not limited to products and services sold with, offered for sale

   with, used with, or compatible for use with Defendants’ SON products), which necessarily

   includes invoices and order forms.

          Defendants have not even produced the number of base stations licensed to use the

   software. However, production of the raw invoices and orders would provide the information as

   confirmed by Landis, Nokia’s 30(b)(6) for financial matters.7 The number of base stations licensed

   to use the software is how Nokia charges customers for the Eden-Net software, among other




      3
          See Ex. 5, Ex. 50, NOK_TRX0454308 (filed under seal).
      4
          See Ex. 6, Ex. 28, NOK_TRX0465556 (filed under seal).
        5
          See Ex. 8, List of customers (filed under seal).
        6
          See Ex. 5, NOK_TRX0454308 (filed under seal).
        7
          See Ex. 9, Deposition of Robert Landis at 57:22-58:6 (Orders would provide unit sales price)
   (filed under seal).


                                                    2
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   charges.8 Accordingly, such information is relevant to damages and should have been produced.


      B. DEFENDANTS SHOULD BE COMPELLED TO PROVIDE COMPLETE
         PRODUCTION IN RESPONSE TO CERTAIN REQUESTS FOR PRODUCTION.

          Though “it is it is not uncommon for an accused infringer to produce millions of pages of

   documents,”9 here, Defendants have produced essentially zero documents related to revenue for

   the products identified in Plaintiff’s infringement contentions, except a few summary pages that

   provides little to no useful information. If Nokia recognized revenue, no matter how recognized,

   that revenue should be produced. Due to the lack of production, after Nokia does produce the

   information, Traxcell requests a second deposition on financial matters. The designated witness

   by Nokia did not even know if all of the SON revenue had been produced as he did not know what

   products made up SON.10


              (1) Defendants Should Be Compelled to Provide Complete Production
                  Regarding Accused-Instrumentalities’ Monetary Information.

          In response to requests for production relating to monetary information (e.g., revenue,

   costs, profits, licenses, sales volume, annual reports, and financial reports) relating to the Accused

   Instrumentalities,11 Defendants asserted meritless objections and failed to fully produce responsive


      8
         See Ex. 7, Eden Net Pricing Strategy at pp. 8-17 (filed under seal).
      9
         Eon-Net LP v. Flagstar Bancorp, 653 F.3d 1314, 1327 (Fed. Cir. 2011) (stating, “The
   Federal Rules of Civil Procedure, as well as the local discovery rules and policies of a number of
   district courts, allow for liberal discovery, and it is not uncommon for an accused infringer to
   produce millions of pages of documents[.]”).
       10
          See Ex. 9 at 39:12-18.
       11
          The precise nature of each request is set forth by the language of each request. Simply for
   brevity and convenience of the Court, Plaintiff refers to these requests as “requests for production
   relating to monetary information (e.g., revenue, costs, profits, licenses, sales volume, annual
   reports) relating to the Accused Instrumentalities.” However, Plaintiff’s use of such category
   descriptor is not intended to modify or restrict each request; each request’s language sets forth its
   precise scope. Further, some Requests may pertain to more than one category descriptor used by
   Plaintiff in this Motion and though for brevity and simplicity purposes Plaintiff’s Motion addresses


                                                     3
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   documents and, instead, have produced little responsive information. The Requests include

   Requests Nos. 1, 2, 6–8, 11, 16–19, and 44.12

          Defendants’ “General Objections”13 are improper.14 Likewise, Defendants’ boilerplate

   objections15 are waived by their boilerplate nature.16 Nor can Defendants carry their burden to

   prove the objections should be sustained. Further, the existence (here, Defendants assert there

   “may” be confidentiality obligations to third parties) of third-party confidentiality obligations is

   not a proper basis for objecting and withholding discovery.17

          Regarding the scope of discovery, Plaintiff notes that direct-infringement liability can exist

   for conduct commonly associated with designing (i.e., creating a design that meets the patent claim




   each Request only with regards to a single category descriptor, by doing so Plaintiff does not intend
   to modify or limit the scope of any Request as set forth by each Request’s language.
       12
          See Declaration of William P. Ramey, III (“Ramey Decl.”) at ¶3, Defendant [sic] Nokia
   Solutions and Network Oy’s Responses to Plaintiff’s First Set of Requests for Production
   (hereafter “RFP Responses”) (Exhibit [“Ex.”] 1) at 6–8, 11–13, 15, 16, 19–22, 44, 45.
       13
          RFP Responses (Ex. 1) at 3–6.
       14
          ACMA USA, Inc. v. Surefil, LLC, 2008 U.S. Dist. LEXIS 51636, at *5 (E.D. Va. July 7,
   2008); Anglin v. Vill. of Washington Park, Civil No. 03-846-MJR, 2006 U.S. Dist. LEXIS
   28606, at *2, *3 (S.D. Ill. May 9, 2006); Doerge v. Crum's Enters., Case No. 05-1019-JTM,
   2006 U.S. Dist. LEXIS 15717, at *9 (D. Kan. Mar. 7, 2006); Koresko v. Bleiweis, Civil Action
   No. 04-00769, 2004 U.S. Dist. LEXIS 19904, at *8–*10 (E.D. Pa. Sept. 27, 2004); Biovail
   Corporation v. Mylan Laboratories, Inc., 217 F.R.D. 380, 381–83 (N.D. W.Va. 2003); In re
   Aircrash Disaster near Roselawn, 172 F.R.D. 295, 306, 307 (N.D. Ill. 1997); Burns v. Imagine
   Films Ent’t, 164 F.R.D. 589, 592, 593 (W.D.N.Y. 1996).
       15
          See Ramey Decl. at ¶3, RFP Responses (Ex. 1) at 6–8 (responses to Requests Nos. 1–2), 11–
   13 (responses to Requests Nos. 6–8), 15–16 (response to Request No. 11), 19–22 (responses to
   Requests Nos. 16–19), 44–45 (response to Request No. 44).
       16
          E.g., Enron Corp. Savs. Plan v. Hewitt Assocs., L.L.C., 258 F.R.D. 149, 159 (S.D. Tex.
   2009); Hager v. Graham., 267 F.R.D. 486, 498 (N.D.W. Va. 2010).
       17
          Mike v. Dymon, Inc., No: 95-2405-EEO, 1996 U.S. Dist. LEXIS 21824 (D. Kan. Oct. 17,
   1996); Bd. of Trs. v. Tyco Int'l. Ltd., 253 F.R.D. 521 (C.D. Cal. 2008); Robert Bosch LLC v.
   ADM 21 Co., No. 2:10-CV-1930-LRH-(LRL), 2011 U.S. Dist. LEXIS 102639 (D. Nev. Sept. 12,
   2011); Stipulated Protective Order (ECF No. 38), particularly ¶¶ 1, 6, 20, 21 (addressing third-
   party issues) see also Northern District of California Patent L.R. 2-2 (“Discovery cannot be
   withheld on the basis of confidentiality absent Court order.”).


                                                    4
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   elements);18 licensing (i.e., licensing technology that meets the patent claim elements);19 and

   testing;20 and that indirect infringement can exist for common technology licensor conduct of

   designing, licensing, and supporting (e.g., providing instructions, technical consultants, technical



      18
          ePlus, Inc. v. Lawson Software, Inc., 789 F.3d 1349, 1361 n.13 (Fed. Cir. 2015); National
   Presto Indus. v. West Bend Co., 76 F.3d 1185, 1195 (Fed. Cir. 1996) (quoting the Weyerhaeuser
   language provided in the following citation); Weyerhaeuser Timber Co. v. Bostitch, Inc., 178 F.
   Supp. 757, 760 (D. R.I. 1959) (stating, “And even though the grant of said license and the
   delivery of said designs and patterns [emphasis added] occurred before the date of the reissue
   patent, such acts would constitute infringing conduct if they were performed with intent to
   infringe the forthcoming reissue patent or with intent that said infringing conduct would continue
   after the reissue patent was granted. [Citations omitted].”); Hewlett Packard Co. v. Papst
   Licensing GmbH & Co. (In re Papst Licensing GmbH & Co.), 767 F. Supp. 2d 1, 10 (D. D.C.
   2011) (stating, “ Underlying the customer-suit doctrine is the preference that infringement
   determinations should be made in suits involving the true defendant, the party that controls the
   product's design [emphasis added], rather than suits involving secondary parties, such as
   customers of the manufacturer.”); Oticon, Inc. v. Sebotek Hearing Sys., LLC, 865 F. Supp. 2d
   501, 509 (D. N.J. 2011) (stating, “[I]t is the design [emphasis added], . . . , and . . . of allegedly
   infringing products that gives rise to any infringement claim[.]”); Symbol Techs., Inc. v.
   Metrologic Instruments, Inc., 771 F. Supp. 1390, 1403 n.11 (D. N.J. 1991) (holding direct
   infringement was proper where an individual “participated in the design of [emphasis added] the
   infringing device and preparation of the sales bulletin. [Citation omitted].”).
       19
          National Presto Indus. v. West Bend Co., 76 F.3d 1185, 1195 (Fed. Cir. 1996) (quoting the
   Weyerhaeuser language provided in the following citation); Weyerhaeuser Timber Co. v.
   Bostitch, Inc., 178 F. Supp. 757, 760 (D. R.I. 1959) (stating, “And even though the grant of said
   license and the delivery of said designs and patterns [emphasis added] occurred before the date
   of the reissue patent, such acts would constitute infringing conduct if they were performed with
   intent to infringe the forthcoming reissue patent or with intent that said infringing conduct would
   continue after the reissue patent was granted. [Citations omitted].”); Moseley v. United States
   Appliance Corp., 155 F.2d 25, 27 (9th Cir. 1946) (stating, “The act of licensing [emphasis
   added] . . . to manufacture and sell the infringing device was itself an act of infringement.
   [Footnoted citations omitted]. . . . The evidence shows that Keelmo Company was formed for
   the purpose of infringing appellee's patent by licensing [emphasis added] the manufacture and
   sale of the infringing device.”).
       20
          Paper Converting Machine Co. v. Magna-Graphics Corp., 745 F.2d 11, 18, 19 (Fed. Cir.
   1984) (stating, “[I]f the infringer has tested his embodiment of the invention sufficiently
   to satisfy him, this may be may be a[n] [infringing] ‘use,’ because [ . . . ] ‘use’ includes use
   for the purpose of testing.”); Kumar v. Ovonic Battery Co., 351 F.3d 1364, 1372–3 (Fed. Cir.
   2003) (noting in part, in denying summary judgment of non-infringement, the defendant’s use
   by performing experiments); Oticon, Inc. v. Sebotek Hearing Sys., LLC, 865 F. Supp. 2d 501,
   509 (D. N.J. 2011) (stating, “[I]t is the design, implementation [emphasis added], manufacturing,
   marketing, and sales of allegedly infringing products that gives rise to any infringement
   claim[.]”).


                                                     5
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   phone support).21



      21
          Water Techs. Corp. v. Calco, Ltd., 850 F.2d 660, 668 (Fed. Cir. 1988) (stating, “design of
   [emphasis added] infringing product may constitute active inducement” [citing 4 D. Chisum,
   supra, § 17.04[4][d], at 17-52]); id. (noting, as support for induced infringement finding, the
   defendant had “given all of the [infringing material] formulas [emphasis added] to” the direct
   infringer); id. (noting, as support for induced infringement finding, the defendant had “exerted
   control over [direct infringer] manufacture of the infringing [materials], as the owner of the
   trademark POCKET PURIFIER used by [direct infringer] on its product and through license
   agreements. See Amendment to Agreement between William J. Gartner and Calco Ltd. of Sept.
   24, 1980, at 2 (Jan. 26, 1983) (‘GARTNER grants to CALCO an exclusive license to
   manufacture and sell the purifying straw, the construction of which shall have been approved by
   Gartner [Court’s emphasis]’).”); Fromberg, Inc. v. Thornhill, 315 F.2d 407, 411 n.11 (5th Cir.
   1963) (stating, regarding inducing infringement, “‘The following has been adjudged infringing
   conduct: licensing others [emphasis added] to use infringing machines and processes * * *;
   fitting machinery for operation at the purchaser's plant; * * * converting machinery or adjusting
   operating parts * * *; passing on information intending to bring about infringement, ( Jones v.
   Radio Corp. of America, 131 F.Supp. 82); Furnishing drawings and granting license [emphasis
   added] ( Weyerhauser Timber Co. v. Bostich, D.C., 178 F.Supp. 757, accused machines,
   Conmear Products Corp. v. Tibony, 63 F.Supp. 372); . . .’ [Citation omitted]. The cited Jones v.
   RCA case gives a good summary of pre-1952 Code decisions as to acts inducing infringement
   even without sales.”); Csb-System Int'l Inc. v. SAP Am., Inc., No. 10-2156, 2012, U.S. Dist.
   LEXIS 60909; 2012 WL 1521321, at **26, 28 (E.D. Pa. Apr. 30, 2012) (stating, “Courts have
   found the range of infringing acts to include actions such as support services and repair.
   [Citations omitted]; Symbol Techs., Inc. v. Metrologic Instruments, Inc., 771 F. Supp. 1390, 1405
   (D.N.J. 1991) (finding that acts of repair and maintenance [ . . . ] may lead to liability for
   inducement; and further noting that ‘conduct including licensing [emphasis added], repair and
   maintenance, instruction and advertising, design [emphasis added] and . . . have been sufficient
   to hold one liable for’” inducing infringement); Arista Records LLC v. Lime Group LLC, 784 F.
   Supp. 2d 398, 434 (S.D. N.Y. 2011) (finding defendant “‘materially contributed’ to the
   infringement by designing [emphasis added], . . . , supporting, and . . . the [infringing] program.
   [Citations omitted]”); ProteoTech, Inc. v. Unicity Int'l, Inc., 547 F. Supp. 2d 1174, 1178 (W.D.
   Wash. 2008) (stating, “Here, in contrast, ProteoTech alleges that Rexall had a subsidiary
   relationship with the company that through various acquisitions became part of the corporate
   entity now accused of infringing the patent ProteoTech licensed to Rexall. The case now before
   the Court is simply not one in which the alleged inducer had no connection to the alleged
   infringer, and Rexall's ‘mere licensing’ theory [emphasis added] does not support dismissal of
   ProteoTech's claim of patent infringement.”); Alta. Telecomms. Research Ctr. v. Rambus, Inc.,
   No. C-06-02595 RMW, 2006 U.S. Dist. LEXIS 81093, at **14–15 (N.D. Cal. Oct. 24, 2006)
   (find that pleading of product testing and other services offered along with licensor’s licenses
   and that the technology infringed specific patent claims sufficiently met indirect patent-
   infringement pleading standards); Vesture Corp. v. Thermal Solutions, Inc., 284 F. Supp. 2d
   290, 317 (M.D. N.C. 2003) (noting that inducing infringement may be based on designing of a
   product).



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           The monetary information relating to the Accused Instrumentalities are relevant and

   discoverable. Defendants’ objections to Requests include Requests Nos. 1, 2, 6–8, 11, 16–19, and

   44 should be overruled, and Defendants should be ordered to produce all responsive documents.


      (2) Defendants Should Be Compelled to Provide Complete Production Regarding
          Infringing-Conduct Information.

           In response to requests for production relating to infringement (making, selling, offering

   to sell, use, importation, and exportation) information relating to the Accused Instrumentalities,22

   Defendants asserted meritless objections and failed to fully produce responsive documents and,

   instead, have produced little responsive information. The Requests include Requests Nos. 20–23,

   and 25.23

           Defendants’ “General Objections”24 are improper.25 Likewise, Defendants’ boilerplate

   objections26 are waived by their boilerplate nature. 27 Further, the existence (here, Defendants

   assert there “may” be confidentiality obligations to third parties) of third-party confidentiality


      22
           The precise nature of each request is set forth by the language of each request. Simply for
   brevity and convenience of the Court, Plaintiff refers to these requests as “requests for production
   relating to infringement (making, selling, offering to sell, use, importation, and exportation)
   relating to the Accused Instrumentalities.” However, Plaintiff’s use of such category descriptor is
   not intended to modify or restrict each request; each request’s language sets forth its precise scope.
   Further, some Requests may pertain to more than one category descriptor used by Plaintiff in this
   Motion and though for brevity and simplicity purposes Plaintiff’s Motion addresses each Request
   only with regards to a single category descriptor, by doing so Plaintiff does not intend to modify
   or limit the scope of any Request as set forth by each Request’s language.
        23
           See Ramey Decl. at ¶3, RFP Responses (Ex. 1) at 22–25, 26, 27.
        24
           See id. at 3–6.
        25
           ACMA USA, 2008 U.S. Dist. LEXIS 51636, at *5; Anglin, 2006 U.S. Dist. LEXIS 28606,
   at *2, *3; Doerge, 2006 U.S. Dist. LEXIS 15717, at *9; Koresko, 2004 U.S. Dist. LEXIS 19904,
   at *8–*10; Biovail, 217 F.R.D. 380, 381–83; In re Aircrash Disaster near Roselawn, 172 F.R.D.
   295, 306, 307; Burns, 164 F.R.D. 589, 592, 593.
        26
           See Ramey Decl. at ¶3, RFP Responses (Ex. 1) at 23–25 (responses to Requests Nos. 20–
   23), 27 (responses to Request No. 25).
        27
           E.g., Enron, 258 F.R.D. 149, 159; Hager, 267 F.R.D. 486, 498.


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   obligations is not a proper basis for objecting and withholding discovery.28

           The infringement (making, selling, offering to sell, use, importation, and exportation)

   information relating to the Accused Instrumentalities is relevant and discoverable. Defendants’

   objections to Requests Nos. 20–23, and 25 should be overruled, and Defendants should be ordered

   to produce all responsive documents.



   C. DEFENDANTS SHOULD BE COMPELLED TO PROVIDE COMPLETE ANSWERS
      TO CERTAIN INTERROGATORIES.

      1. Defendants Should Be Compelled to Fully Answer Interrogatory No. 6, Which
         Relates to Accused-Instrumentalities’ Monetary Information.

           Plaintiff’s Interrogatory No. 6 asks:

           INTERROGATORY NO. 6:
                  For each Accused Product, state, on a product-by-product basis, the
           revenues received, costs incurred, and profits received, relating to sale or use in
           the U.S. or export from the U.S. of such product since January 1, 2010. The
           information should be provided at the unique product number level and may be
           provided on either a monthly or a quarterly basis as is likely reflected in reporting
           packages distributed to Defendant’s management on a periodic basis in, for
           example, profit and loss statements or income statements, balance sheets,
           statements of cash flows, revenue forecasts, profit forecasts, demand forecasts,
           market share reports or forecasts, or similar reports. To the extent such
           information is not available, Defendant shall provide revenue, cost, and profit
           information at the most detailed level reasonably available to Defendant.[29]




      28
          Mike v. Dymon, Inc., No: 95-2405-EEO, 1996 U.S. Dist. LEXIS 21824 (D. Kan. Oct. 17,
   1996); Bd. of Trs. v. Tyco Int'l. Ltd., 253 F.R.D. 521 (C.D. Cal. 2008); Robert Bosch LLC v.
   ADM 21 Co., No. 2:10-CV-1930-LRH-(LRL), 2011 U.S. Dist. LEXIS 102639 (D. Nev. Sept. 12,
   2011); Stipulated Protective Order (ECF No. 38), particularly ¶¶ 1, 6, 20, 21 (addressing third-
   party issues) see also Northern District of California Patent L.R. 2-2 (“Discovery cannot be
   withheld on the basis of confidentiality absent Court order.”).
       29
          See Ramey Decl. at ¶5, Interrogatory Responses (Ex. 3, which is being FILED UNDER
   SEAL) at 46.


                                                     8
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           Defendants’ “General Objections”30 are improper.31 Likewise, Defendants’ boilerplate

   objections32 are waived by their boilerplate nature.33

           The accused-instrumentalities’ monetary information is relevant and discoverable.

   Defendants’ objections to Interrogatory No. 6 should be overruled, and Defendants should be

   ordered to fully answer Interrogatory No. 6.

           Plaintiff’s e-mail of July 25, 2018, particularly lies out the damages data requested.34 The

   discovery of such information from Defendants may lead to the discovery of admissible evidence.

   Additionally, Plaintiff is entitled to the raw data from which Defendants computer the sales data.

           The information requested in the e-mail was:

           For each Accused Product, state, on a product-by-product basis, the revenues
           received, costs incurred, and profits received, relating to sale or use in the U.S. or
           export from the U.S. of such product since January 1, 2010. We have received
           none to date.
           A proper response includes revenue data for each:
              Nokia Eden-NET SON refers to each of Eden Rock’s Eden-NET SON and
              Nokia’s iSON.
              (a) any transceiver and antenna made, used, or sold by Nokia capable of
                  RF communication with a wireless network, the network including a
                  computer executing or loaded with Nokia Eden-NET SON;
              (b) any wireless communication device made, used or sold by Nokia,
                  capable of RF communication with a wireless network, the network
                  including a computer executing or loaded with Nokia Eden-NET SON;
              (c) any computer made, used or sold by Nokia, including a virtual
                  computer, executing or loaded with Nokia Eden-NET SON;
              (d) any wireless communication device made, used or sold by Nokia,
                  capable of RF communication with a wireless network, the wireless

      30
          See id. at 1–5.
      31
          ACMA USA, 2008 U.S. Dist. LEXIS 51636, at *5; Anglin, 2006 U.S. Dist. LEXIS 28606,
   at *2, *3; Doerge, 2006 U.S. Dist. LEXIS 15717, at *9; Koresko, 2004 U.S. Dist. LEXIS 19904,
   at *8–*10; Biovail, 217 F.R.D. 380, 381–83; In re Aircrash Disaster near Roselawn, 172 F.R.D.
   295, 306, 307; Burns, 164 F.R.D. 589, 592, 593.
       32
          See Ramey Decl. at ¶5, Interrogatory Responses (Ex. 3) at 46, 47.
       33
          E.g., Enron, 258 F.R.D. 149, 159; Hager, 267 F.R.D. 486, 498.
       34
          See Ramey Decl. at ¶6, Ex 4, July 25, 2018 e-mail from Ramey to Nokia’s counsel.


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                communication device including a processor executing or loaded with
                a Location-Based Service (LBS) provider application, such as Google
                Maps or VZ Navigator application or AT&T navigator;
            (e) revenue data from the use, make or sale of Nokia Eden-NET SON;
                and,
            (f) licenses for using, making or selling Nokia Eden-NET SON.
         Traxcell intends to compel these responses. Nokia’s reference to
         NOK_TRX00051216 does not help as these numbers do not include all of the
         equipment.[35]

 The information requested is taken directly from Plaintiff’s infringement contentions36 and

 therefore extremely relevant to Plaintiff’s infringement claims.

         Defendants’ “General Objections”37 are improper.38 Likewise, Defendants’ boilerplate

 objections39 are waived by their boilerplate nature.40

                                       II.     CONCLUSION

         Plaintiff requests the Court overrule Defendants’ discovery objections referenced above

 and order Defendant to provide full production and answers to the discovery discussed above.



                                             Respectfully submitted,

                                             Ramey & Schwaller, LLP

                                             By: /s/ William P. Ramey, III
                                                William P. Ramey, III
                                                Texas Bar No. 24027643
                                                5020 Montrose Blvd., Suite 750
    35
        See Ramey Decl. at ¶6, Ex 4, at 1–2.
    36
        See id. at ¶7.
     37
        See id. at ¶5, Ex 3 at 1–5.
     38
        ACMA USA, 2008 U.S. Dist. LEXIS 51636, at *5; Anglin, 2006 U.S. Dist. LEXIS 28606,
 at *2, *3; Doerge, 2006 U.S. Dist. LEXIS 15717, at *9; Koresko, 2004 U.S. Dist. LEXIS 19904,
 at *8–*10; Biovail, 217 F.R.D. 380, 381–83; In re Aircrash Disaster near Roselawn, 172 F.R.D.
 295, 306, 307; Burns, 164 F.R.D. 589, 592, 593.
     39
        See Ramey Decl. at ¶5, Ex 3, Interrogatory Responses at 6, 7.
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        E.g., Enron, 258 F.R.D. 149, 159; Hager, 267 F.R.D. 486, 498.


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                                             Houston, Texas 77006
                                             (713) 426-3923 (telephone)
                                             (832) 900-4941 (fax)
                                             wramey@rameyfirm.com


                                             Hicks Thomas, LLP

                                             John B. Thomas (Co-Counsel)
                                             Texas Bar No. 19856150
                                             700 Louisiana Street, Suite 2000
                                             Houston, Texas 77002
                                             (713) 547-9100 (telephone)
                                             (713) 547-9150 (fax)
                                             jthomas@hicks-thomas.com

                                             Attorneys for Traxcell



                             CERTIFICATE OF CONFERENCE

        Numerous personal conferences have occurred in this case regarding this production

 between Plaintiff Counsel William P. Ramey, III and Defense Counsel Marc Kaplan. Both

 conferred by emails on July 25th, and August 6th, 13th, and 17th, 2018. Also, on July 26th, those

 attorneys conferred by phone. Agreement could not be reached because the parties could not

 agree on the scope of discovery and the relevance of the discovery requests. Local counsel,

 Mike Jones, for defendant was involved in the telephone conference and in subsequent e-mails.

        The parties have continued to negotiate the requests but no further progress has been

 made on obtaining the requested discovery. The conferences continued until a meet and confer

 today, February 11, 2019 involving local counsel. No agreement could be reached.


                                             /s/ William P. Ramey, III
                                             William P. Ramey, III


                                 CERTIFICATE OF SERVICE




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        Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

 that all counsel of record who have appeared in this case are being served today, February 11,

 2019, with a copy of the foregoing via the Court's CM/ECF system.


                                            /s/ William P. Ramey, III
                                            William P. Ramey, III




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